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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                                      3:03cr150/RV
                                                         3:06cv226/RV/MD
BRADFORD S. POTTS
_____________________________________________________________________

                                          ORDER

       The defendant has filed a notice of appeal (doc. 172), a motion for certificate of
appealability (doc. 173) and a motion for leave to appeal in forma pauperis (doc. 174), all
with respect to the order entered on June 5, 2007. Unless a certificate of appealability is
issued, the defendant may not take an appeal from the final order denying section 2255
relief. See 28 U.S.C. 2253(c)(1)(B). Such a certificate may issue “only if the applicant has
made a substantial showing of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2).
       Because the defendant has not made a substantial showing of the denial of a
constitutional right, and for the reasons set forth in this court’s order of June 5, 2007, to
which defendant did not object, a certificate of appealability is DENIED.
       For the same reasons, there is no good faith basis for an appeal and defendant has
not shown that he is entitled to proceed in forma pauperis. Fed.R.App.P. 24(a). Therefore,
defendant’s motion for leave to appeal in forma pauperis (doc. 174) is also DENIED.
Defendant shall pay the $455.00 filing fee within thirty (30) days of the date of this order.


       DONE AND ORDERED this 4th day of October, 2007.


                                          /s/ Roger Vinson
                                          ROGER VINSON
                                          SENIOR UNITED STATES DISTRICT JUDGE
